Exhibit

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OMB Control No. 0560-0312
OMB Expiration Date: 07/31//2023

FSA-1122 U.S. DEPARTMENT OF AGRICULTURE 1. Recording State 2. Program Year
(06-13-23) Farm Service Agency
2020
PANDEMIC ASSISTANCE REVENUE 3. Recording County 4. Application Number

NOTE: The tis made in di with the Privacy Act of 1974 (6 USC 552a — as ded). The ity for ing the ion Identified on this form is the Consolidated Appropriations Act (Pub. L
116- OO) a and 7 CFR Part 9. The information will be used to eligibility for program benefits. The information collected on this form may be disclosed to other Federal, State, and Local govemment agencies,
Tribal agencies, and f entities that have been authorized access to the infe ion by statute or lation and/or as ibed in applicable Routine Uses identified in the System of Records Notice for
USDA/FSA-2, Fam Records File ( ig the i lon is voluntary. However, failure to fumish the requested ion will result in a of ineligibility for program
benefits. Payments may be made | under the program to which the form apples only to the extent permitted by applicable authorities.
Public Burden Si it (Paperwork R i Acy: Public reporting burdiet for this Hection is estimated to ge 60 minutes per includi hering and the data
needed, g the and 1g the You are not d to d to the collectic or USDA may not conduct or Sponsor a collection of information unless it

displays a valid OMB control number, RETURN THIS COMPLETED FORM $0 LOCAL USDA-FARM SERVICE AGENCY OFFICE.

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The Department of Agriculture (USDA) will make PARP payments to producers who meet the requirements of the program, subject to the availability of funds. The following
information is needed for USDA to make a determination that the applicant is eligible to receive a PARP payment. By submitting this application, and upon approval by USDA, the
applicant agrees:

1. To comply with regulations set forth in 7 CFR Part 9, subpart D;

2. That a PARP payment will only be made with respect to decreases in revenue for commodities grown in the US, unless the commodity was produced outside the US by a
producer located in the US and marketed in the US;

3. To provide, upon request, to USDA all information that is necessary to verify that the information provided on this form is accurate and to allow USDA representative
access to alldocuments and records of the producer, including those in the possession of a third-party such as a warehouse operator, processor or packer;

4, To comply with payment limitation, adjusted gross income, and other rules applicable to the PARP by completing forms:

*« CCC-902, Farm Operating Plan for Payment Eligibility

CCC-901, Member Information for Legal Entities, if applicable

CCC-941, Average Adjusted Gross Income (AGI) Certification and Consent to Disclosure of Tax Information
FSA-1122A, Continuation Sheet For Pandemic Assistance Revenue Program (PARP) Adjusted Revenue, if applicable
FSA-1123, Certification of 2020 Adjusted Gross Income, optional

CCC-860, Socially Disadvantaged, Limited Resource, Beginning and Veteran Farmer or Rancher Certification, optional
AD-2108, Form to Assist in Assessment of USDA Compliance With Civil Rights Laws, optional

« AD-2047, Customer Data Worksheet, optional;

5. To provide USDA all eligibility documents required for program participation within 60 days from the PARP application deadline. Failure of an individual, entity, or member of
an entity to timely submit all eligibility documents required may result in no payment or a reduced payment;
6. To comply with the provisions of the Food Security Act of 1985 that protect highly erodible land and wetlands. All applicants must complete and submit all portions of form
AD-1026, Highly Erodible Land Conservation (HELC) and Wetland Conservation (WC) Certification unless:
6A. i. The applicant does not participate in USDA benefits subject to HELC and WC compliance except Federal Crop Insurance or PARP, and

ii. The applicant only has an interest in land devoted to the production of agricultural commodities that are perennial crops, excluding sugar cane, such as tree fruits, tree
nuts, grapes, olives, native pasture and perennial forage. If the applicant produces alfalfa, the applicant must contact the Natural Resources Conservation Service to
determine if such production qualifies as the production of a perennial crop; and

ii. | The applicant has not converted a wetland after December 23, 1985; or

6B. i. The applicant does not own or rent land devoted to an agricultural activity including cropland, rangeland, pastureland or forestland; or
ii. The applicant is a producer of livestock, nursery crops, honey or similar commodity that is not produced from tillage of land;
7. if the applicant meets either the conditions in Item 6A (certification with box 5B on AD-1026) or 6B Certification (certification with box 5A on AD-1026), the applicant is only
required to complete Parts A and D of form AD-1026.
8. if the applicant identifies as being a new producer or has increased their operation size between the benchmark year and 2020 they may complete supplemental worksheet
FSA-1122 A to request an adjusted revenue.
9. if applicant receives assistance through the Coronavirus Food Assistance Program 1 or 2, Pandemic Livestock Indemnity Program, Spot Market Hog Pandemic Program, or

Emergency Relief Program for 2020 after their PARP payment is issued, their PARP payment will be recalculated and the applicant must refund any resulting overpayment.

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5. Producer Name, Address (City, State and Zip Code) and Phone Number (Include Area Code)

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2018 Allowable Gross 2019 Allowable Gross 2020 Allowable Gross COC Adjusted 2018 COC Adjusted 2019 COC Adjusted 2020 Allowable
Revenue Revenue Revenue Allowable Gross Revenue Allowable Gross Revenue Gross Revenue
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Thereby sign and acknowledge under penalty of perjury in accordance with 28 U.S.C. § 1746 and 18 U.S.C. § 1621 that the foregoing is true and correct.
12A. Signature (By) 12B. Title/Relationship of the Individual Signing in the Representative Capacity | 12C. Date (MM/DD/YYYY)

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13. COC or Designee Signature

15. Determination
[] APPROVED EC] DISAPPROVED

14. Date (MM/DD/YYYY)

In accordance with Federal clvil rights law and USDA civil rights regulations and policies, the USDA, its jes, offices, and ing in or USDA p from ing based on race, color, national
origin, religion, sex, gender identity (including gender }, sexual ori disability, age, marital Status, family/parental status, “Income derived from a public assistance rogram, ‘paliical beliefs, orrenrial or retaliation for prior civil rights activity,
in any program or activity conducted or funded by USDA | (not alf ‘bases apply to all p: and faint fling vary by program or incident.

Persons with disabilities who require altemative mean. for program information (e.g., Braille, large print, Sign L efe.) should contact the responsible agency or USDA's TARGET Center al (202) 720-2600
{voice and TTY) or contact USDA through the Fedora! Aeoy Service at (200) 877-8339. Additionally, program information may be made available in Janguages other than English.

To file a program dis the USDA Program Discrimination Complaint Form, AD-3027, found online at hitp/Avww.ascr.usda.gov/complaint_filing_cust.html and at any USDA office or write a letter addressed fo USDA and provide
in the letter all of the information requested in the form. To request a copy of the complaint form, call (866) 632-9992. Submit your completed form or letter to USDA by: (1) mall: U.S, Department of Agriculture Office of the Assistant Secretary for Civil Rights
1400 independ Avenue, SW D.G. 20250-9410; (2) fax: (202) 690-7442; or (3) email: program.intake@usda.gov. USDA is an equal opportunity provider, employer, and fender.

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FSA-1122 (06-13-23)

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HOW TO DETERMINE ALLOWABLE GROSS REVENUE (all revenue a producer received reportable to IRS on a "cash basis

method" during the applicable calendar year)

Table 1 provides guidance for:
e determining allowable gross revenue source

e what to include/exclude when determining allowable gross revenue.

Table 1.

Allowable gross revenue INCLUDES revenue from the
following sources:

Allowable gross revenue EXCLUDES revenue from the
following sources:

(1) Sales of agricultural commodities produced by the producer, including sales
resulting from value added through post-production activities. (Sched. F Line 2, or
other comparable Federal tax form)

NOTE: include income from:

. inventory carried over from the prior tax year

. post-production activities (value added) i.c., grapes into wine or strawberries
into jam

. Commodities not grown in the U.S. (if. grown by U.S. producer and marketed
in the U.S.)

. Interest Charge Domestic Intemational Sales Corporation (IC-DISC) income
from the sale of agricultural commodities.

(2) Sales of agricultural commodities purchased for resale, less the cost or other basis
of such commodities. (Sched. F Line 1C, or other comparable Federal tax form)

NOTE: Include CCC loan proceeds if elected to be treated as income in a prior
year less the tax basis in year of repayment.

NOTE: The sale of eligible aquatic species may only be included if the eligible
aquatic species were raised by a commercial operator and in water in a controlled
environment.

(3) The amount of cooperative distributions directly related to the sale of agricultural
commodities produced by the applicant. (Sched F — Line 3a & 3b, or other
comparable Federal tax form)
(4) Payments received under the following agricultural programs regardless of crop
year or program year (Sched F Line 4a, or other comparable Federal tax form):

. Agriculture Risk Coverage and Price Loss Coverage Program (ARC/PLC)
Biomass Crop Assistance Program (BCAP)
Dairy Margin Coverage Program (DMC)
Loan Deficiency Payment (LDP) and Market Loan Gains (MLG)
Market Facilitation Program (MFP)
Margin Protection Program (MPP Dairy)
Seafood Trade Relief Program (STRP)

(5) Commodity Credit Corporation (CCC) loans reported under election if elected to
be treated as income and reported to IRS. (Schedule F Line Sa - Se, or other
comparable Federal tax form)

(6) Crop insurance proceeds received from FCIC or a private plan of insurance
regardless of crop year (as reported to IRS). (Schedule F Line 6, or other comparable
Federal tax form)

(7) Federal disaster program payments under the following programs regardless of
the crop year or program year (Schedule F Line 6, or other comparable Federal tax

form):

. 2017 Wildfire and Hurricanes Indemnity Program (WHIP)

. Emergency Assistance for Livestock, Honeybees, and Farm Raised Fish
Program (ELAP)
Livestock Forage Disaster Program (LFP)
Livestock Indemnity Program (LIP)
Noninsured Crop Disaster Assistance Program (NAP)
Milk Loss Program
On-Farm Storage Loss Program (OFSLP)
Tree Assistance Program (TAP)

. Wildfires and Hurricanes Indemnity Program+ (WHIP+)
(8) Payments issued through grant agreements with FSA for losses of agricultural
commodities
(9) Revenue from raised breeding livestock (Sched 4797 Part 1] & II column (d), or
other comparable Federal tax form)
(10) Revenue eamed as a cattle feeder operation
(11) NOAA grants and State program funds providing direct payments for the loss of
agricultural commodities or the loss of revenue from agricultural commodities
(12) Other revenue directly related to the production of agricultural commodities that
IRS requires the applicant to report as income including but not limited to:

e Federal and State gas/fuel tax credits

« Income from by-passed (unharvested) acres

* Commodity specific income received from State or local governments.
(13) Pandemic Market Volatility Assistance Program (PMVAP) benefits received,
regardless of the calendar year in which the payment was received.

(1) Pandemic Assistance from:
. Coronavirus Food Assistance Program (CFAP) I

° Coronavirus Food Assistance Program (CFAP) 2

° Pandemic Livestock Indemnity Program (PLIP)

° Spot Market Hogs Pandemic Program (SMHPP)

NOTE: Ifa CFAP payment was received in calendar year 2020, and was
included on Schedule F line 4a for calendar year 2020, the amount of the CFAP
payment received will need to be deducted from that line item amount when figuring
2020 allowable gross revenue.

(2) 2020 Emergency Relief Program (ERP) Payments

NOTE: The PARP software will automatically deduct all payments received
from the Pandemic programs listed above and the 2020 ERP program during the
payment calculation.

(3) Wild free-roaming animals
(4) Horses and other animals used for racing or wagering
(5) Aquatic species that are NOT grown:
. as food for human or livestock consumption,
. for industrial or biomass uses,
. as fish raised as feed for fish that are
consumed by humans, or
. as or tal fish prog
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(6) Cannabis sativa L. and any part of that plant including the seeds, thereof and all
derivatives, extracts, cannabinoids, isomers, acids, salts, and salts of isomers, whether
growing or not, with a delta-9 tetrahydrocannabinol concentration of more than 0.3
percent on a dry weight basis, that is grown under a license or other required
authorization issued by the applicable governing authority that permits the production
of hemp

(7) Timber

(8) Resale of items not held for characteristic change

(9) Income from a pass-through entity such as an S Corporation or LLC

(10) Conservation Program payments

(11) Certificate Exchanges

(12) Any pandemic assistance payments that were not for the loss of agricultural
commodities or the loss of revenue from agricultural commodities, including, but not
limited to:

e cost-share assistance
° loss of buildings,
e etc.

(13) Custom hire income (Sched F Line 7, or other comparable Federal tax form)
(14) Net gain from hedging or speculation

(15) Wages, salaries, and tips

(16) Cash rent

(17) Rental of equipment or supplies

(18) Revenue earned as a contract producer.

Note: An applicant is not required to have filed a Schedule F to determine Allowable Gross Revenue. If an applicant did not file a
Schedule F, the applicant will use the applicable federal tax form filed to determine Allowable Gross Revenue in the same manner as if a

Schedule F was filed.

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Page 73 of 97 PagelD #: 844

Filed 03/13/24

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AFFIDAVIT OF COREY LEA

I, Corey Lea, under the penalty of perjury, I am a Black farmer that resides
in Rutherford County, Tennessee. I will be harmed if the Court does not grant the
preliminary injunction. I further attest that I am owed a substantial amount of
money by the Federal Defendants through sections 22006 and 22007 of the
Inflation Reduction Act. As illustrated by exhibit, the Federal Defendants have
orchestrated a scheme in furtherance of the conspiracy to deprive me of equal
protection and due process under the Fifth Amendment. I have requested a hearing
at the administrative level and the Defendants have refused to docket the complaint
to contest the alleged debts owed.

Respectfully Submitted,

Corey Lea

Notary Public

Date and Seal

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USDA Farm Lawrence County Farm Service Agency
United States Production Farm 237 Waterloo Street
aa Department of and Service Lawrenceburg, TN 38464

Agriculture Conservation Agency Voice: (931) 762-6913 Fax: (855) 494-6731

February 6, 2024

Corey Lea
3430 Magruder Dr.
Murfreesboro, TN 37129

Dear Mr. Lea:

This responds to your request for a Direct Farm Ownership Loan in the amount of
$600,000.00 and a Direct Operating Loan in the amount of $300,000 requested on your
application dated January 22, 2024. We are denying your request in accordance with Farm
Service Agency (FSA) regulations. This decision is based on the following factual
determination(s) and reason(s):

Per FSA regulation [7 CFR 764.101(d)] The applicant must have acceptable credit
history demonstrated by debt repayment.

Per FSA regulation [7 CFR 764.101(d)(1)] As part of the credit history the Agency will
determine whether the applicant will carry out the terms and conditions of the loan,
and deal with the Agency in good faith. In making this determination, the Agency may
examine whether the applicant has properly fulfilled its obligations to other parties,
including other agencies of the Federal Government.

Per FSA regulation [7 CFR 764.101(d)(2)] When the applicant caused the Agency a loss
by receiving debt forgiveness, the applicant may be ineligible for assistance in
accordance with eligibility requirements for the specific loan type. If the debt
forgiveness is cured by repayment of the Agency’s loss, the Agency may still consider
the debt forgiveness in determining the applicant’s creditworthiness.

Per FSA regulation {7 CFR 764.101(d)(3)] A history of failures to repay past debts as
they came due when the ability to repay was within the applicant’s control will
demonstrate unacceptable credit history.

Per FSA regulation [7 CFR 764.101(f)] As provided in 31 CFR Part 285, except for EM
loan applicants, the applicant and anyone who will sign the Promissory Note must not
be in delinquent status on any Federal debt, other than a debt under the Internal
Revenue Code of 1986 at the time of loan closing. All delinquent debts, however, will be
considered in determining credit history and ability to repay under this part.

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Per FSA regulation *--[7 CFR 764.152()] And anyone who will sign the promissory note,
must satisfy at--*least one of the following conditions:

(1) Meet the definition of a beginning farmer.

(2) Have not had a direct FO loan outstanding for more than a total of 10 years prior to
the date the new FO loan is closed.

Applicant is determined not eligible based on the applicant’s history with debt repayment,
delinquency, and Farm Ownership term limits with the Farm Service Agency. The
customers historical agency records show a loss on a Guaranteed Loan of $13,599.42 dated
01/20/2015 and a current delinquent amount of $10,908.00 on FSA Direct FO loan 41-01
which was due 10/25/2023. The customers payment history was as a Co Borrower or entity
member for Corey Lea Inc. The payment history shows there were no loan payments made
by Mr. Lea or the entity on any of the outstanding FSA loans associated with Corey Lea Inc.
between the closing date of 10/25/2007 and current date. The only payments noted in the
loan repayment history was an administrative offset payment of $638.00 on 11/20/2009 and
The Inflation Reduction Act payments made on all the delinquent Direct loans 41-01, 44-02,
and 44-03 associated with Corey Lea Inc on 9/30/2022. Applicants guarantee loan status
report with Farmers National Bank also reflects the Guaranteed loan was in Default status
between the dates of 07/15/2008-01/14/2015. Mr. Lea signed the promissory note as both
the entity president and as an individual reflecting his knowledge of payment terms and due
dates on 10/27/2007. The applicants farm ownership loan term limits of 10 years have also
expired as the applicant received his first Direct FO loan in 2007.

It should be noted that FSA has not made formal determinations regarding any other loan
making criteria at this time other than eligibility.

If you believe that this decision is erroneous, you have the following options:

I. Reconsideration

You may request that I reconsider this determination by filing a written request no later than
30 calendar days after you receive this notice in accordance with FSA appeal procedures
found at 7 CFR Part 780. If you request reconsideration, you have the right to an informal
hearing which you or your representative may attend either personally or by telephone. If
you choose to seek reconsideration, you may later appeal the determination to the National
Appeals Division (NAD). To request reconsideration, write to me at the following address
and explain why you believe this determination is erroneous.

Greg Wunner
237 Waterloo St.
Lawrenceburg, TN 38464

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Ul. Mediation

Mediation is available as part of FSA’s informal appeal process. Mediation may enable us to
narrow the issues and resolve the matter by mutual agreement. You may have to pay all or
part of the cost of mediation. If you request mediation, the running of the time frame in
which you may file an appeal stops. When mediation closes, the clock restarts and you will
have the balance of the days remaining in that period to file an appeal. To request mediation,
you must submit your written request no later than 30 calendar days after you receive this
notice. To request mediation, write to the FSA State Executive Director at the following
address:

FSA State Executive Director
USDA/Farm Service Agency

Attention: Farm Loan Programs Section
579 U.S. Courthouse

801 Broadway

Nashville, Tennessee 37203

Fax: (855) 494-7763

I. Appeal to the Department of Agriculture National Appeal Division (NAD)

You may appeal this determination to the National Appeals Division (NAD) by filing a
written request no later than 30 calendar days after you receive this notice according to the
NAD appeal procedures found at 7 CFR Part 11. If you appeal to NAD, you have the right
to a hearing that you or your representative may attend. Once a hearing with NAD begins,
you waive any rights you might have to reconsideration, appeal to FSA, and mediation. To
appeal, you must write to NAD at the following address, or on the NAD website at
www.nad.usda.gov, explain why you believe this determination is erroneous, and provide a
copy to FSA. You must personally sign your written appeal to NAD and include a copy of
this letter.

USDA, NAD

Southern Regional Office
Post Office Box 1508
Cordova, Tennessee 38088-15

Send a copy of your request and attachments to me at the following address:
Greg Wunner

237 Waterloo St.

Lawrenceburg, TN 38464

If you do not timely exercise one of the preceding options, this shall be the final

administrative determination with respect to this matter according to the regulations at 7 CFR
Part 780 and 7 CFR Part 11.

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The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against
credit applicants on the basis of race, color, religion, national origin, sex, marital status, age
(provided the applicant has the capacity to enter a binding contract); because all or part of the
applicant’s income derives from any public assistance program; or because the applicant has
in good faith exercised any right under the Consumer Credit Protection Act. The Federal
agency that administers compliance with this law is the Federal Trade Commission, Equal
Credit Opportunity, Washington, D.C. 20580.

In accordance with Federal civil rights law and U.S. Department of Agriculture (USDA) civil
rights regulations and policies, the USDA, its Agencies, offices, and employees, and
institutions participating in or administering USDA programs are prohibited from
discriminating based on race, color, national origin, religion, sex, gender identity (including
gender expression), sexual orientation, disability, age, marital status, family/parental status,
income derived from a public assistance program, political beliefs, or reprisal or retaliation
for prior civil rights activity, in any program or activity conducted or funded by USDA (not
all bases apply to all programs). Remedies and complaint filing deadlines vary by program or
incident.

Persons with disabilities who require alternative means of communication for program
information (e.g., Braille, large print, audiotape, American Sign Language, etc.) should
contact the responsible Agency or USDA’s TARGET Center at (202) 720-2600 (voice and
TTY) or contact USDA through the Federal Relay Service at (800) 877-8339. Additionally,
program information may be made available in languages other than English.

To file a program discrimination complaint, complete the USDA Program Discrimination
Complaint Form, AD-3027, found online at

http://www.ascr.usda.gov/complaint_ filing cust.html and at any USDA office or write a
letter addressed to USDA and provide in the letter all of the information requested in the
form. To request a copy of the complaint form, call (866) 632-9992. Submit your completed
form or letter to USDA by: (1) mail: U.S. Department of Agriculture, Office of the Assistant
Secretary for Civil Rights, 1400 Independence Avenue, SW, Washington, D.C. 20250-9410;
(2) fax: (202) 690-7442; or (3) email: program.intake@usda.gov. USDA is an equal
opportunity provider, employer, and lender.

Sincerely,

ES lt—

Gregory S. Wunner
Farm Loan Manager

cc: Clint Bain, District Director
Scott Scudder, Farm Loan Specialist
Jan York, Farm Loan Officer

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